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         BEFORE THE JUDICIAL PANEL ON MULTIDISTRICT LITIGATION
In re: JULY 12, 2024 AT&T CUSTOMER
DATA SECURITY BREACH                                          MDL NO. _________

                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF GEORGIA

LORI YOUNG, and MACHELLE CRAWFORD,
individually and on behalf of all
others similarly situated,

v.                                                                    CASE NO. 24-cv-03185

AT&T MOBILITY, LLC


Motion for Transfer of Actions to the Northern District of Georgia Pursuant to 28 U.S.C. §
              1407 for Consolidated or Coordinated Pretrial Proceedings

       Pursuant to 28 U.S.C. § 1407 and Rule 7.2(a) of the Rules of Procedure of the Judicial

Panel on Multidistrict Litigation, Plaintiffs Lori Young and Machelle Crawford, respectfully

request that all currently filed federal cases in this litigation, and any subsequent tag-along cases

involving similar claims, be transferred to the United States District Court for the Northern District

of Georgia and be consolidated for pretrial purposes with Plaintiffs’ pending action in that district:

Lori Young and Machelle Crawford v. AT&T Mobility, LLC, Case No. 1:24-cv-03185 (Judge

Victoria M. Calvert). Three other actions are pending in other districts that are closely similar to

this matter in the claims alleged:

• In the District of New Jersey: Chris Schulte v. AT&T Inc. and AT&T Mobility, LLC, Case #
3:24-cv-07818;

• In the Northern District of Texas, Dallas Division: Dina Winger v. AT&T, Inc., Case No. 3:24-
cv-1797; and

• In the District of Montana, Butte Division: Richard Olivieri and Lauren Woon v. AT&T, Inc.;
AT&T Mobility, LLC and Snowflake, Inc., Case No. 2:24-cv-00056
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       Each of these cases seeks class certification. Each are premised on allegations that AT&T

failed to properly secure and safeguard the personally identifiable information (“PII”) and/or

customer proprietary network information (“CPNI”) that was accessed and exfiltrated in a data

breach. No motion practice has yet occurred in any of the cases, and Plaintiffs will seek a stay in

each action pending the Panel’s decision on this motion.

       Plaintiffs respectfully request that the above actions, as well as any that may subsequently

be filed asserting similar or related claims, be transferred to the United States District Court for

the Northern District of Georgia and consolidated for pretrial purposes. The centralization of these

actions in single judicial district for consolidated pretrial proceedings will promote the just and

efficient conduct of these actions, will serve the convenience of all parties and witnesses, and will

promote the interest of justice because all actions involve common factual and legal issues,

including but not limited to: (a) Whether and to what extent Defendant had a duty to protect the

PII of Plaintiffs and Class Members; (b) Whether Defendant had a duty not to disclose the PII of

Plaintiffs and Class Members to unauthorized third parties; (c) Whether Defendant failed to

adequately safeguard the PII of Plaintiffs and Class Members; (d) Whether Defendant required its

third-party vendors to adequately safeguard the PII of Plaintiffs and Class Members; (e)When

Defendant actually learned of the Data Breach; (f) Whether Defendant adequately, promptly, and

accurately informed Plaintiffs and Class Members that their PII had been compromised; (g)

Whether Defendant violated the law by failing to promptly notify Plaintiffs and Class Members

that their PII had been compromised; (h) Whether Defendant failed to implement and maintain

reasonable security procedures and practices appropriate to the nature and scope of the information

compromised in the Data Breach; (i) Whether Defendant adequately addressed and fixed the

practices, procedures, or vulnerabilities which permitted the Data Breach to occur; (j) Whether
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Plaintiffs and Class Members are entitled to actual damages, statutory damages, and/or nominal

damages as a result of Defendant’s wrongful conduct; (k) Whether Plaintiffs and Class Members

are entitled to injunctive relief to redress the imminent and ongoing harm faced as a result of the

Data Breach. and whether and to what extent the class plaintiffs are entitled to relief.

       Consolidation of these actions before a single judge will preserve judicial resources, reduce

litigation costs, prevent potentially inconsistent pretrial rulings, eliminate duplicative discovery

and permit the cases to proceed to trial more efficiently. Further, because AT&T is already subject

to the claims raised in the Plaintiff’s civil action before Judge Victoria M. Calvert proposed transfer

and consolidation in the Northern District of Georgia will be for the convenience of the parties and

witnesses and will promote a just and efficient conduct of these actions. Moreover, it is anticipated

that counsel in all actions will seek discovery of the same witnesses and production of the same

documents.

       In support of this motion, Plaintiffs rely on:

       a) its accompanying brief in further support of this motion (Exhibit 01-1);

         b) the Schedule of Actions providing (1) the complete name of each action involved, listing
the full name of each party included; (2) the district court and division where each action is
pending; (3) the civil action number of each action; and (4) the name of the judge assigned to each
action (Exhibit 01-2);

      c) DeMert Brands’ statement regarding oral argument, which takes the position that oral
argument is unnecessary (Exhibit 01-3);

       d) the Proof of Service (Exhibit 01-4); and

       e) a copy of all complaints (without exhibits) and docket sheets (current as of the date this
motion is filed) for all actions listed in the Schedule of Actions (Exhibits 01-5 through 01-8)

       WHEREFORE, Plaintiffs respectfully request that the Panel order that the Schulte,

Winger, and Olivieri class actions, as well as any cases that may be subsequently filed

asserting related or similar claims, be transferred to the Northern District of Georgia and
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consolidated and coordinated with the Plaintiffs’ class action for all pretrial proceedings.



       Dated: July 23, 2024.



                                                      By: /s/ Paul J. Doolittle
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